    Case 4:07-cv-05944-JST Document 2518-7 Filed 04/02/14 Page 1 of 1




                        UNITED STATES DISTRICT COURT

                     NORTHERN DISTRICT OF CALIFORNIA

                            SAN FRANCISCO DIVISION


IN RE CATHODE RAY TUBE (CRT)         )   Case No. CV-07-5944-SC
ANTITRUST LITIGATION                 )
                                     )   MDL No. 1917
                                     )
                                     )   LETTER OF REQUEST
This Document Relates to:            )   (LETTERS ROGATORY)
                                     )
ALL ACTIONS                          )
                                     )

           REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
                  PURSUANT TO LETTERS ROGATORY


                              REDACTED VERSION
